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                 ATTESTATION AND CERTIFICATE OF TRANSLATION

       I, Marisol Dominguez-Ruiz, certify that I am fluent in both English and Spanish. On

February 20, 2025, I personally spoke with Janfrank Berrios Laguna and read the foregoing

declaration to him, translated into Spanish faithfully and accurately, over the phone. Mr. Berrios

Laguna affirmed that he understood my translation and that the information in the above

declaration is true and accurate.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.



_________________________
Marisol Dominguez-Ruiz
Justice Catalyst Fellow, National Prison Project
American Civil Liberties Union
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